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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


DEBORAH THELEN, individually                 )
and on behalf of those similarly situated    )
                                             )
        Plaintiff,                           )       Civil Action No. 1:22-cv-00208-CFC
v.                                           )
                                             )
HP, Inc.,                                    )
                                             )
        Defendant.                           )


                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel Moves for the admission
pro hac vice of Scott D. Hirsch to represent Plaintiff, Deborah Thelen in this matter.


Respectfully submitted,


/s/ P. Bradford deLeeuw
P. Bradford deLeeuw (#3569)
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Attorney for Deborah Thelen
Date: March 9, 2022
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                        ORDER GRANTING MOTION
   IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


   Date:_____________         _______________________________________
                                    United States District Judge
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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE


       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of Florida and pursuant to Local
Rule 83.6 submit to the disciplinary jurisdiction of this Court for any alleged misconduct which
occurs in the preparation or course of this action. I also certify that I am generally familiar with
this Court’s Local Rules. In accordance with Standing Order for District Court Fund effective
9/1/16, I further certify that the annual fee of $25.00 has been paid  to the Clerk of Court, or, if
not paid previously, the fee payment will be submitted      to the Clerk’s Office upon the filing of
this motion.


       Dated: March 9, 2022


         /s/ Scott D. Hirsch
       Scott D. Hirsch
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       Scott Hirsch Law Group
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